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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                          )
                                                          )
SMARTMATIC USA CORP., SMARTMATIC                          )
INTERNATIONAL HOLDING B.V., and SGO                       )
CORPORATION LIMITED,                                      )
                                                          )
Plaintiffs,                                               )    Case No. 21-cv-02900-CJN
                                                          )
v.                                                        )
                                                          )
HERRING NETWORKS, INC., d/b/a ONE
                                                          )
AMERICA NEWS NETWORK,
                                                          )
Defendant.                                                )
                                                          )
                                                          )

                           PLAINTIFFS’ MOTION FOR
              ADMISSION PRO HAC VICE OF ATTORNEY LEE B. MUENCH

       Pursuant to Local Civil Rule 83.2(d) of the United States District Court for the District of

Columbia, Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO

Corporation Limited (“Smartmatic”) move for the admission and appearance of attorney Lee B.

Muench pro hac vice in the above-entitled action. This motion is supported by the Declaration of

Lee B. Muench, filed herewith. As set forth in Mr. Muench’s declaration, he is admitted and in

good standing with the Bar of the State of Illinois. Mr. Muench is also admitted to practice in the

United States District Court for the Northern District of Illinois, the United States District Court

for the Central District of Illinois, and the United States District Court for the Eastern District of

Michigan.
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       This motion is supported and signed by Lauren C. Tortorella, an active and sponsoring

member of the Bar of this Court.

Dated: September 29, 2022                       Respectfully submitted,

                                               /s/ Lauren C. Tortorella
                                               Lauren C. Tortorella
                                                   DC Bar No. IL0102
                                                   Email: ltortorella@beneschlaw.com

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                                               Attorneys for Plaintiffs Smartmatic USA
                                               Corp., Smartmatic International Holding
                                               B.V., and SGO Corporation Limited
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                                  CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing document will be filed with

the Clerk of Court using the CM/ECF system on September 29, 2022, which I understand to have

served counsel for the parties.




                                                   /s/ Lauren C. Tortorella
                                                   Lauren C. Tortorella
